Case 2:04-Cv-02389-.]PI\/|-tmp Document 25 Filed 07/14/05 Page 1 of 3 Page|D 49

IN THE UNITED STATES DISTRICT Fll£D BY £/&_' oc.
WESTERN DISTRICT OF TENNESSEE WESTERN DIVISIEN
UJUL l lt PH I% 38

ARTURO AGUIRRE CRUZ, Individually
And as Next of Kin to MAXIMINO
AGUIRRE, Deceased; MARiA LUZ
VENEGAS ESTRADA, Individually, as
Next of Kin to MAX]MINO AGUIRRE,
Deceased and on behalf of MARITZA
AGUIRRE VENEGAS, a minor; and
AURELIANO VALDES BLAS,

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) THOWS M. GOLE.D
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Individually, )
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Plaintiffs,
vs.

FORD MOTOR COMPANY

Defendant. CASE NO. 2:04»cv-2389-MI/P
ORDER

IT IS ORDERED that Frederick J. Jekel be admitted to act as counsel for

Maximino Aguirre in this action.

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Signed this /l_'i day of \J "" § , 2005

 

This document entered on the dockets e§tlt co?p||anca
with nme se and/orrs(a) FncP on §§ §O_)

 

Case 2:O4-Cv-O2389-.]P|\/|-tmp Document 25 Filed 07/14/05 Page 2 of 3 Page|D 50

CERTIFICATE OF SERVICE
I do hereby certify that I served a copy of the Within Motion For Admission,
Notice Of Appearance and Order to the Counsel of Record in the Within entitled matter by
sending a copy of same by U.S. Maii, postage prepaid, this ___“____ day of June 2005,

upon the following:

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This notice confirms a copy of the document docketed as number 25 in
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Honorable J on McCalla
US DISTRICT COURT

